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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


RAY BERNARD WILLIAMS,

                       Plaintiff,

                v.                                    Civil Action No. 15-719 (GK)

DISTRICT OF COLUMBIA, et al.,

                       Defendants.


                                     SCHEDULING ORDER

                           PLEASE READ THIS IN ITS ENTIRETY

       This matter having come before the Court for an Initial Scheduling Conference, and the

Court having considered the Joint Meet and Confer Statement submitted by counsel, the

representations made in open court, and the entire record in this case, it is hereby

       ORDERED, that:

        1.      All pleadings are due by 4:00 p.m. of the date indicated, unless ordered to the

contrary.

       2.       The Parties shall abide by the following dates, deadlines, and limitations:

                a.     Parties are limited to 25 interrogatories per side.

                b.     Parties are limited to 25 admissions per side.

                c.     Parties are limited to 25 requests for production of documents per side.

                d.     Parties are limited to 10 depositions per side.

                e.     Plaintiffs Expert Report is due by August 14, 2015.

                f.     Defendants' Expert Report is due by October 12, 2015.

                g.     All discovery shall be completed by December 15, 2015.
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                  h.     Deadline for filing post-discovery Dispositive Motions is January 20,

2016.

                  1.     Deadline for filing Oppositions is February 29, 2016.

                 J.      Deadline for filing Replies to such Oppositions is March 15, 2016.

        3.        A Status Conference is scheduled for March 7, 2016, at 10:00 a.m.

        4.        Every pleading shall indicate, immediately below the Civil Action Number in the

caption, the next-scheduled Court deadline, such as a status conference, or pretrial conference,

or trial date. Pleadings that do not contain such information will be, sua sponte, stricken from

the record.

        5.        Unless Parties have been given leave to do so, no Opposition to a Motion shall

include a new Motion. Every Motion must be filed separately and individually.

        6.        Every pleading signed by an attorney shall, in conformity with Local Civil Rule

5.l(e), contain the name, address, address, telephone number, fax number, and bar

identification of the attorney.

        7.        Any Motion that does not comply with Local Civil Rule 7(c) or (m) will be, sua

sponte, denied.

        8.        Any pending Dispositive Motions will be automatically denied as moot when and

if the Complaint upon which they are based is superseded by an Amended Complaint. Parties

shall not reference, rely on, or incorporate such denied Motions in any subsequent Dispositive

Motions filed in response to the Amended Complaint.

        9.        Every motion for continuance shall indicate the date a pleading is due, the date

requested for the continuance, whether previous continuances have been granted, and whether




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the extension will impact any other court dates. Failure to provide such information will result

in denial of the Motion.

       10.     Counsel shall confer in good faith in an effort to resolve any discovery disputes

before bringing the dispute to the Court. If Counsel are unable to resolve the discovery dispute,

Counsel shall arrange a brief telephone conference with the Court by contacting Chambers.

Counsel shall not file a discovery Motion without following the procedures set forth in this

paragraph.

       11.     No discovery Motion may exceed 10 pages in length.            Oppositions may not

exceed 10 pages in length; replies may not exceed 5 pages.

       12.     A Pretrial Conference will be set, if necessary, after ruling on dispositive motions.

Three weeks in advance of the Pretrial Conference, Counsel are required to meet and prepare a

Joint Pretrial Statement, which is required to be submitted not less than eleven days prior to

the Conference in accordance with Local Civil Rule 16.S(b).         Parties themselves shall not

attend the Pretrial Conference. The form for the Joint Pretrial Statement is attached hereto as

Appendix A. Separate Pretrial Statements will be struck, sua sponte.

       13.     Motions for Reconsideration are greatly disfavored and should not exceed 10

pages in length. Motions in excess of these page limits will be struck, sua sponte. Oppositions

may not exceed 10 pages in length; replies may not exceed 5 pages. The Court assumes that

Counsel have made their best and most convincing arguments in their first round of briefing, and

presumes that Motions for Reconsideration are simply a repetition and reframing of those

original arguments. "Only if the moving party presents new facts or a clear error of law which

'compel' a change in the Court's ruling will the motion to reconsider be granted." New York v.

United States, 880 F. Supp. 37, 38 (D.D.C. 1995) (emphasis added).



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       14.     Counsel's attention is called to Appendix B, which contains specific "guidelines"

for the proper conduct of depositions under Fed. R. Civ. P. 30(d), prohibiting argumentative and

suggestive objections, and requiring answers to all questions, regardless of objections except

when necessary to preserve a privilege. Violations of this rule will be sanctioned.

       15.     Counsel are admonished to read the Circuit's opinion in Jackson v. Finnegan,

Henderson, Farabow, Garrett & Dunner, et al., 101 F.3d 145, 149-153 (D.C. Cir. 1996) (in

upholding the trial court's implementation of the scheduling order entered at the beginning of the

case and insisting on its reasonable observance during litigation, affirming the grant of summary

judgment because of failure to comply with Local Rule 7.l(h)).




Date: June 15, 2015

                                             United States District Judge




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                                         APPENDIX A

    [Form of Joint Pretrial Statement to be Filed at Least 14 days Before Pretrial Conference]

                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


RAY BERNARD WILLIAMS,

                      Plaintiff,

               v.                                   Civil Action No. 15-719 (GK)

DISTRICT OF COLUMBIA, et al.,

                      Defendants.


                              JOINT PRETRIAL STATEMENT


      I.      Parties and Counsel: Names, addresses, and telephone numbers of all Parties
and Counsel on whose behalf this Statement is filed.

        2.      Nature of the Case: Give a brief statement describing the nature of the case, the
identities of the Parties, and the basis of the Court's jurisdiction. The statement of the case
should be sufficiently brief, clear, and non-argumentative to be suitable for reading to the jury.

        3.     Claims and/or Defenses: Give a statement of claims setting forth, concisely,
each Party's claims against any other Party (including counter-, cross-, and third-party claims)
and the Party or Parties against whom the claim is made. The statement of defenses shall set
forth each defense a Party interposes to a claim asserted against it by any other party, including
defenses raised by way of general denial, without regard to which Party has the burden of
persuas10n.

        4.     Undisputed Issues/Stipulations: List all issues not in dispute or facts to which
the Parties have stipulated.

         5.      Witness Schedule: List the name, address, and telephone number of each
witness scheduled to be called by a Party, including rebuttal witnesses. The schedule shall also
set forth brief descriptions of the testimony to be given by the witness, and an estimate of the
time necessary for direct examination. Opinion witnesses shall be designated by an asterisk.
Witnesses called for impeachment purposes only need not be listed. However, no Party may call
at trial any witness not listed (except for impeachment purposes) on their Pretrial Statement.



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         6.     Exhibit List: Describe each exhibit to be offered in evidence, with each exhibit
identified by number, title, and date (if applicable). No exhibit will be admitted at trial unless it
is listed on the Pretrial Statement. All exhibits listed will be deemed admitted at trial unless a
specific objection is made in the Joint Pretrial Statement.

       7.     Deposition Testimony: Identify any deposition or portion thereof (by page and
line number) the Party intends to offer in evidence. Any cross-designation sought by any other
party must be made at or before the final Pretrial Conference.

        8.     Relief Sought: Set forth separately each element of damages and the monetary
amount claimed, including prejudgment interest, punitive damages, and attorneys' fees. Do not
include amounts claimed for intangible damages. Set forth all other types of relief sought
against any party.

        9.       Pending Motions: List all pending motions showing title and filing date.

        10.     Demonstrative Evidence, Physical Evidence, Videotapes: Describe all such to
be offered at trial. Any objections must be made in the Joint Pretrial Statement.

       11.     Jury Cases: Submit list of requested voir dire questions, showing those agreed
upon and not agreed upon; submit a list of standard instructions showing those agreed upon and
not agreed upon; submit complete text of non-standard instructions with authorities relied upon;
submit text of verdict form, including any special interrogatories.

       12.    Non-Jury Cases: Submit detailed proposed findings of fact and conclusions of
law with supporting authorities.

       13.     Estimated Length of Trials: List number of days, and any scheduling problems
with witnesses.

        14.      Miscellaneous Matters:

        The following should be included after the signature of counsel:

              The foregoing Joint Pretrial Statement, as revised at the Pretrial
              Conference in the presence of Counsel, shall stand as the Pretrial Order
              in this case.


Date:                                                Isl
                                              Gladys Kessler
                                              United States District Judge




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                                          APPENDIXB

                                  DEPOSITION GUIDELINES


      1.       Counsel for the deponent shall refrain from gratuitous comments and directing the
deponent in regard to times, dates, documents, testimony, and the like.

        2.     Counsel shall refrain from cuing the deponent by objecting in any matter other
than stating an objection for the record followed by a word or two describing the legal basis for
the objection.

       3.     Counsel shall refrain from directing the deponent not to answer any question
submitted unless the question calls for privileged information.

        4.      Counsel shall refrain from dialogue on the record during the course of the
deposition.

       5.      If Counsel for any party or person given notice of the deposition believes that
these conditions are not being adhered to, the Counsel may call for suspension of the deposition
and then immediately apply to the Court for an immediate ruling and remedy. Where
appropriate, sanctions will be imposed.

       6.       All Counsel are to conduct themselves in a civil, polite, and professional manner.




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